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                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION

IN THE MATTER OF:                               §
                                                §
DILIP JANA                                      §       Civil Action No. 4 HW
     Plaintiff,                                 §
                                                §
v.                                              §                            JUL 1 1 2025
                                                 §
WALMART, INC.,                                   §                 CLERK . D STRIGT court
     Defendant.                                  §                     exas eastern




PLAINTIFF S NOTICE OF WITHDRAWAL OF RULE 34 REQUESTS FOR PRODUCTION
PENDING COURT RESOLUTION OF DISCOVERY MOTIONS


TO THE HONORABLE COURT


Pursuant to Federal Rules of Civil Procedure 26(b), 34(b)(2)(A), and this Court s inherent authority

to manage discovery, Plaintiff Dr. Dilip Jana, pro se, hereby withdraws Plaintiffs March 28, 2025

Rule 34 Requests for Production ( RFPs ) served upon Defendant Walmart Inc., pending the Court s

resolution of Plaintiff s pending discovery motions, including:



     • Plaintiffs Motion to Compel Walmart’s Responses to Interrogatories Nos. IM and for In¬

        Camera Review of EXHIBITS 1 and 2 of the Complaint (Dkt. 13);

     • PLAINTIFF’S OBJECTIONS TO MAGISTRATE JUDGE’S ORDER (DKT. 66) AND

        REQUEST FOR DISTRICT JUDGE REVIEW


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                                       I. Purpose and Basis



1. Preservation of Rights:

Plaintiffs withdrawal of the RFPs is a protective procedural measure designed to preserve Plaintiffs

rights and to prevent prejudice from Defendant s threatened unsolicited or procedurally improper

 second round document productions while key disputes remain pending before the Court.



2. Avoidance of Prejudice:

Defendant has indicated an intent to produce additional documents, despite ongoing disputes

regarding:



      • Failure to produce a timely privilege log;

      • Improper blanket privilege assertions;

      • Improper and uncertified June 9, 2025 production;

      • Plaintiffs pending demand for native format production with metadata and hash values for

         authentication;

      • Pending motions for in-camera review and sanctions.



Producing documents under these disputed circumstances would prejudice Plaintiffs ability to

challenge authenticity, privilege, and completeness, and would undermine the integrity of the

proceedings.



3. No Waiver:

This withdrawal:




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   • Does not constitute a waiver of Plaintiff s right to re-serve RFPs after the Court resolves

       pending discovery disputes.

   • Does not waive any objections or rights related to discovery or evidence admissibility.

   • Preserves Plaintiffs position that Walmart s pending and prior productions were untimely,

       procedurally defective, and noncompliant with Rule 26(a)(l)(A)(ii), Rule 34, Rule

       26(b)(5)(A), and Dkt. 60.


4. Court Supervision:

Plaintiff requests that the Court require no further document production from Walmart under the

withdrawn RFPs pending resolution of the motions, to avoid additional disputes, improper document

dumps, and potential spoliation concerns.



                                     II. Reservation of Rights



Plaintiff expressly reserves:



    • The right to re-serve the withdrawn RFPs in the same or modified form after the Court s

       ruling on the pending motions;

    • The right to seek sanctions and preclusion of improperly produced documents under Rule 37

        if Walmart attempts to circumvent this withdrawal;

    • All objections and challenges to any documents Walmart has produced or may attempt to

       produce in the interim.




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WHEREFORE, Plaintiff respectfully notifies the Court and Defendant that Plaintiff s March 28, 2025

Rule 34 Requests for Production are hereby withdrawn, without prejudice, pending the Court s

resolution of Plaintiff s pending discovery motions.



Date : July 11, 2025


                                                       Respectf lly Submitted,




                                                         Pro Se
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                                  CERTIFICATE OF SERVICE


On July 11, 2025, a true and correct copy of the foregoing was served upon the following through the

Court s CM/ECF system:

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                                                     Respectfully Submitted




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